Case 1:08-cr-00322-WMS Document 25 Filed 02/25/11 Page 1 of 3

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

08-CR-322S-
JOSEPH ANDERSON,

Defendant.

SENTENCING LETTER

f

Case 1:08-cr-00322-WMS Document 25 Filed 02/25/11 Page 2 of 3

U. S. District Judge William M. Skretny
United States Courthouse

68 Court Street

Buffalo, New York 14202

07 Nov 2008 KCL 333

RE; Joe Anderson

Dear Honorable Judge Skretny,

| am writing in hope to offer some feed back related to my experience with Joe
Anderson. Thank you in advance for your time and listening to my concerns.

My name is Dennis Ryan. | am the owner of a locally owned billboard company. My
company’s name is TransAd Inc. This is the first time | have ever written into provide
feedback related to a case. However in this case | felt | needed to make an exception.

For over to ten years my locally owned company employed four people in Erie and
Niagara Counties. In a market dominated by media monopolies such as Lamar, for 10
years | was able to hold my own as the only locally owned Outdoor Advertising
Company in Western NY State.

| am sad to say that as of this writing my company is out of business. The people who
worked for me have lost their employment. | had to sell my business assets off in a “fire
sale” to avoid bankruptcy.

The main reason for our companies’ failure to remain viable was due to Joe Anderson.

As of this writing Mr. Anderson owes my company over $38,000+. He has refused to
pay for services that he contracted for and received.

Additionally he threatened to send some of his “friend” to my house for a “visit”. This
was mentioned as a deterrent to me following up with legal action. As a father of two
young children this insinuated threat caused me serious amount of stress. This is
unacceptable.

Mr. Anderson’s company “Smoking Joes” was an advertiser with us. His company. used

a directional billboard to guide customers on I-190 to exit at Rt. 31 and-head toward
“Smoking Joes”. We had a five year agreement in which | was paid.a monthly rental
from Mr. Andersons’ company. Our contracts are non cancellable. Despite receiving
what he contracted for and more he continues.to refuse to pay us for no reason.

| tried on several occasions to work out a mutually agreeable settlement with Mr.
Anderson and his attorneys. -His response to me was; “I’m not paying you and there is

_ nothing you can do because | am located on the reservation.’
TransAd inc.

174 Main Street
Ste 111
East Aurora, NY 14052

Case 1:08-cr-00322-WMS Document 25 Filed 02/25/11 Page 3 of 3

Joe Anderson- Page#2

The economic strain to our small company caused by Mr. Anderson’s default has
caused me a great deal of injury. Additionally,

= Four good reliable employees had to be let go.

«" Two families were forced to leave the area to find employment out of state.

Why? Because Joe Anderson’s lack of ethics. Mr. Anderson has made a living from
not honoring agreements. It seems normal rules of conduct don’t apply to Mr. Anderson.

In my twenty years of Advertising experience this is the second time Mr. Anderson has
defaulted on his advertising contracts and failed to pay his bills, on a whim.

Last time | worked for a company called Penn Advertising. In the 90’s when the Seneca
Indians were blocking I-90 because of a taxation dispute Joe cancelled all of his ad
agreements for no reason, because “he felt like it”. Response was the same, that he
was untouchable due to his sovereign status as a Native American.

Honorable Judge Skretny, on behalf of my family, and the four families of the men who
worked for TransAd; | respectfully request you weight my comments in your mind when
handing down sentence.

| hope Mr. Anderson’s lack of character and business ethics are etched in your mind
when you sentence him. In my opinion the maximum sentence allowed would send a
clear message to Mr. Anderson that Yes indeed the “Rules and Laws “do apply to him.

Thank you very much for your time and consideration. | am humbled by the opportunity
to provide you with my thoughts and experiences related to Mr. Anderson.

If you have any questions or would like to discuss this matter further please feel free to
call me at the number provided below

Best Regards,

ew be

Dennis Ryan
President
TransAd Inc
716-713-3227

